

Matter of Brittany C. (2018 NY Slip Op 01770)





Matter of Brittany C.


2018 NY Slip Op 01770


Decided on March 16, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 16, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, TROUTMAN, AND WINSLOW, JJ.


277 CAF 16-02295

[*1]IN THE MATTER OF BRITTANY C. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; MICHAEL C., RESPONDENT-APPELLANT. (APPEAL NO. 1.) 






CARA A. WALDMAN, FAIRPORT, FOR RESPONDENT-APPELLANT.
JESSICA M. PEASLEE, BATH, FOR PETITIONER-RESPONDENT.
VIVIAN CLARA STRACHE, BATH, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Steuben County (Mathew K. McCarthy, A.J.), entered October 25, 2016 in a proceeding pursuant to Social Services Law § 384-b. The order determined that the subject child is a permanently neglected child and terminated the parental rights of respondent. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: March 16, 2018
Mark W. Bennett
Clerk of the Court








